Case 0:04-cr-60279-WJZ Document 231 Entered on FLSD Docket 02/15/2007 Page 1 of 2

UNITED STATES DISTRICT COURT FILED by "D.C.
SOUTHERN DISTRICT OF FLORIDA

1 ya AR oe AG HA
CASE NO. 04-60279-CR-ZLOCH J OWAK OY 2006

UNITED STATES OF AMERICA,

i CLARENCE MADDOX
| CLERK U.S. DIST. CT.
3.0. OF FLA. FT. LAUD.

Faceetearibi.

Plaintiff,

vs. ORDER TO SEAL

SAMUEL I. BURSTYN,

Defendant.
/

THIS MATTER is before the Court upon Plaintiff United States
of America and Defendant Samuel I. Burstyns’ Motion To Seal Joint
Motion To Extend Defendant Burstyn’s Reporting Date To The Bureau
Of Prisons bearing the file stamp of the Clerk of the Court date
March 27, 2006. The Court has carefully reviewed said Motion and
the entire court file and is otherwise fully advised in the
premises.

Accordingly, after due consideration, it is

ORDERED AND ADJUDGED that Plaintiff United States of America
and Defendant Samuel I. Burstyns’ Motion To Seal Joint Motion To
Extend Defendant Burstyn’s Reporting Date To The Bureau Of Prisons
bearing the file stamp of the Clerk of the Court date March 27,
2006 be and the same is hereby GRANTED as follows:

1. The Clerk of Court is hereby DIRECTED to file and
maintain under seal Plaintiff United States and Defendant Samuel I.
Burstyns’ Motion To Seal Joint Motion To Extend Defendant Burstyn’s
Reporting Date To The Bureau Of Prisons and Joint Motion To Extend

Defendant Burstyn’s Reporting Date To The Bureau Of Prisons until
Case 0:04-cr-60279-WJZ Document 231 Entered on FLSD Docket 02/15/2007 Page 2 of 2

Friday, December 29, 2006 at which time said sealed Motion is to be
unsealed and made part of the public record.
DONE AND ORDERED in Chambers at Fort Lauderdale, Broward

—

AY
County, Florida, this _& day of March, 2006.

WILLIAM J. ZLOCH
Chief United States District Judge

Copies furnished:

J. Brian McCormick, Esq., AUSA
Michael J. Dittoe, Esq., AUSA
For Plaintiff

Mark P. Schnapp, Esq.
For Defendant
